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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

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 SPARTA INSURANCE COMPANY                                  :
 (as successor in interest to Sparta Insurance
 Holdings, Inc.),                                          :

                           Plaintiff,                     :    Civil Action
                                                               No. 21-11205-FDS
        v.                                                :

 PENNSYLVANIA GENERAL INSURANCE                           :
 COMPANY (now known as Pennsylvania
 Insurance Company),                                      :

                            Defendant.                     :
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   DEFENDANT PENNSYLVANIA GENERAL INSURANCE COMPANY’S MOTION
              FOR PARTIAL JUDGMENT ON THE PLEADINGS

        Defendant Pennsylvania General Insurance Company (n/k/a Pennsylvania Insurance

Company) (“Defendant”) hereby moves this Court for an entry of partial judgment on Plaintiff

SPARTA Insurance Company (“Plaintiff”)’s pleadings. Specifically, Defendant seeks a

judgment that Count I of Plaintiff’s Amended Complaint is not justiciable and a corresponding

order dismissing this Count for lack of subject matter jurisdiction.

        In support of this Motion, Defendant respectfully refers the Court to its memorandum of

law and transmittal declaration filed concurrently herewith. A proposed order is attached hereto

as Exhibit A.

        WHEREFORE, Defendant respectfully requests that the Court issue a judgment that

Plaintiff’s first request for relief is not justiciable and order Count I dismissed.
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Dated: October 19, 2022                   Respectfully submitted,


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                                          Counsel for Defendant




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              CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 7.1

        The undersigned hereby certifies that counsel for Defendant met and conferred with

counsel for Plaintiff and attempted in good faith to resolve or narrow the issues in accordance

with the requirements of Local Rule 7.1(a)(2) but was not able to obtain Plaintiff’s consent to the

relief requested herein.


                                                          /s/ Samuel C. Kaplan
                                                          Samuel C. Kaplan



                                  CERTIFICATE OF SERVICE

        The undersigned certifies that on October 19, 2022, the foregoing document was

electronically filed using the Court’s CM/ECF system, which will automatically send email

notification of such filing to all attorneys of record.


                                                          /s/ Samuel C. Kaplan
                                                          Samuel C. Kaplan




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